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               IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                  No.     4:07CR00163-001 SWW

JACK RONDLE PIPKIN


                                     ORDER
      At the conclusion of the trial of this matter on April 18, 2008, after

lengthy jury deliberations, the Court was advised that a unanimous verdict could

not be reached on Counts 3, 4, 8, 9, 11, 12, 14, 15 and 16 of the second

superseding indictment.   Accordingly, this Court declared a mistrial, and the

case now should be rescheduled for a new trial.

      IT IS THEREFORE ORDERED that this case is set for a new trial to a jury on

Counts 3, 4, 8, 9, 11, 12, 14, 15 and 16 of the second superseding indictment to

begin at 9:30 a.m. on Monday, MAY 5, 2008.    The parties are directed to submit

any revised jury instructions and voir dire questions on or before May 1, 2008.

If possible, the Court requests counsel to provide the   instructions saved as a

WordPerfect document or Rich Text Format file attached   to an e-mail addressed

to swwchambers@ared.uscourts.gov.   Please type the case name and number in the

subject box.   Otherwise, the Court requests counsel to provide the instructions

on a 3 ½” diskette, along with the written copy.

      Pursuant to General Order No. 54, counsel for defendant is authorized to

bring electronic devices(s) into the courthouse for this proceeding.

      IT IS SO ORDERED this 22nd day of April, 2008.


                                     /s/Susan Webber Wright

                                     UNITED STATES DISTRICT JUDGE
